IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

 

ROANOKE DIVISION
FEDERAL-MOGUL CORPORATION )
Plaintiff, )
)
v. ) Civil Action No: 7:15cv700
)
LCM CORPORATION )
Defendant. )
)
M

Defendant, LCM Corporation (“Defendant” or “LCM”), states the following for its

Answer in Response to the Complaint filed by Plaintiff Federal-Mogul Corporation.
Nature of the Case

l. Paragraph l of the Complaint is compound paragraph with multiple factual
allegations, summaries and legal conclusions to Which no response is required The extent a
response is required, Defendant denies the allegations in this paragraph and demands strict proof
thereof

M

2. The allegations in Paragraph 2 ofthe Complaint are admitted upon information and
belief

3. The allegations in Paragraph 3 ofthe Complaint are admitted

Jurisdiction and Venue

 

4. The allegations in Paragraph 4 of the Complaint are admitted
5. The allegations in Paragraph 5 of the Complaint are admitted

6. The allegations contained in Paragraph 6 ofthe Complaint are admitted

Factual Background

7. The allegations contained in Paragraph 7 of the Complaint are admitted upon
information and belief.

8. LCM admits that it Was in the business of hazardous Waste remediation/removal The
characterization of expert is a legal conclusion to Which no response is required

9. LCM admits the allegations contained in Paragraph 9 of the Complaint.

l(). LCM is Without sufficient information to admit or deny the allegations contained in
Paragraph ]0 of the Complaint.

ll. LCM is Without sufficient information to admit or deny the allegations contained in
Paragraph ll of the Complaint.

12. LCM is Without sufficient information to admit or deny the allegations contained in
the Paragraph 12 of the Complaint.

l3. LCM is Without sufficient information to admit or deny the allegations contained in
Paragraph 13 of the Complaint.

l4. LCM is Without sufficient information to admit or deny the allegations contained in
Paragraph 14 of the Complaint.

15. LCM is Without sufficient information to admit or deny the allegations contained in
Paragraph 15 ofthe Complaint.

l6. LCM is Without sufficient information to admit or deny the allegations contained in
Paragraph 16 of the Complaint.

l7. LCM is Without sufficient information to admit or deny the allegations contained in
Paragraph l7 ofthe Complaint.

18. LCM is Without sufficient information to admit or deny the allegations contained in

Paragraph 18 ofthe Complaint.

l9. lt is admitted that Exhibit l Was attached to the Complaint and it is further admitted
that it purports to be portions of LCl\/I’s former Website.

20. LCM admits that it has work experience at Radford Army Ammunition Plan in
Radford, Virginia, however, it denies the remaining allegations in Paragraph 20 and demands
strict proof thereof

2l. LCM admits the allegations contained in Paragraph 21 of the Complaint.

22. The allegations contained in Paragraph 22 of the Complaint are admitted upon
information and belief.

23. The allegations contained in Paragraph 23 of the Complaint are admitted upon
information and belief.

24. LCM denies the allegations contained in Paragraph 24 and demands strict proof
thereof

25. The allegations contained in Paragraph 25 of the Complaint are admitted upon
information and belief.

26. The allegations contained in Paragraph 26 of the Complaint are denied and demands
strict proof thereof.

27. Paragraph 27 ofthe Complaint mischaracterizes LCl\/I’s submission as a “formal
proposal,” and thus the allegations are denied and demands strict proof thereof

28. lt is admitted that Exhibit 2 Was attached to the Complaint. The best evidence of the
contents of the documents referenced in Exhibit 2 are the documents themselves and any

allegations contained in Paragraph 28 that is contrary to the Written documents is denied and

demands strict proof thereof LCM further denies the characterization of the documents and
demands strict proof thereof

29. The best evidence of the contents of the documents referenced in Paragraph 29 are the
documents themselves and any allegations contained in Paragraph 29 that is contrary to the
Written documents is denied and demands strict proof thereof. LCM further denies the
characterization of the documents and demands strict proof thereof.

30. The best evidence of the contents of the documents referenced in Paragraph 30 are
the documents themselves and any allegations contained in Paragraph 30 that is contrary to the
Written documents is denied and demands strict proof thereof. LCM further denies the
characterization of the documents and demands strict proof thereof

31. The allegations contained in Paragraph 31 are admitted upon information and belief

32. The allegations contained in Paragraph 32 are admitted upon information and belief.

33. The allegations contained in Paragraph 33 are admitted upon information and belief.

34. LCM denies the allegations contained in Paragraph 34 and demands strict proof
thereof

35. LCM is Without sufficient information to admit or deny the allegations contained in
Paragraph 35 and demands strict proof thereof

36. LCl\/[ admits the allegations in Paragraph 36 upon information and belief.

37. The allegations contained iii Paragraph 37 are admitted upon information and belief

38. The allegations contained in Paragraph 38 are admitted upon information and belief

39. LCM denies the allegations contained in Paragraph 39 and demands strict proof
thereof.

40. LCM denies the allegations contained in Paragraph 40 and demands strict proof

thereof

41. LCM denies the allegations contained in Paragraph 41 and demands strict proof
thereof

42. LCM denies the allegations contained in Paragraph 42 and demands strict proof
thereof

43. LCM denies the characterization of “common occurrence” in Paragraph 43 and
demands strict proof thereof

44. LCM denies the allegations contained in Paragraph 44 and demands strict proof
thereof

45. The allegations contained in Paragraph 45 are admitted upon information and belief

46. The allegations contained in Paragraph 46 are denied and LCM demands strict proof
thereof

47. The allegations contained in Paragraph 47 are admitted upon information and belief

48. The allegations contained in Paragraph 48 are admitted upon information and belief

49. The allegations contained in Paragraph 49 are admitted upon information and belief

50. LCM denies the allegations contained in Paragraph 50 of the Complaint and demands
strict proof thereof

51 . The allegations contained in Paragraph 51 are denied and demands strict proof
thereof

52. The allegations contained in Paragraph 52 are admitted upon information and belief

53. LCM denies the allegations contained in Paragraph 53 and demands strict proof
thereof

54. LCl\/I denies the allegations contained in Paragraph 54 and demands strict proof

thereof

55. LCM admits the allegations contained in Paragraph 55 upon information and belief

56. LCM admits that it was issued a citation and fine by tlie Department of Labor, but
denies that characterization of the citation and fine as the information contained in the Complaint
is incomplete.

57. LCM denies the allegations contained in Paragraph 57 and demands strict proof
thereof

58. LCM is without sufficient information to admit or deny the costs incurred by Federal-
Mogul and thus denies the same. LCM denies the remaining allegations contained in Paragraph
58.

COUNT I- BREACH OF CONTRACT

59. LCM incorporates its responses to the preceding paragraphs as if fully set out below.

60. LCM denies the allegations contained in Paragraph 60 and demands strict proof
thereof

61. LCM denies the allegations contained in Paragraph 61 and demands strict proof
thereof

62. Paragraph 62 contains legal conclusions to which no response is required To the
extent a response is required, LCl\/l denies the allegations contained therein.

63. Paragraph 63 contains legal conclusions to which no response is required To the
extent a response is required, LCM denies the allegations contained therein.

64. Paragraph 64 contains legal conclusions to which no response is required To the
extent a response is required, LCl\/l denies the allegations contained therein.

65. Paragraph 65 contains legal conclusions to which no response is required To the

extent a response is required, LCM denies the allegations contained therein

66. Paragraph 66 contains legal conclusions to which no response is required To the
extent a response is required, LCl\/I denies the allegations contained therein.

67. Paragraph 67 contains legal conclusions to which no response is required To the
extent a response is required, LCM denies the allegations contained therein.

68. LCM denies the allegations contained in Paragraph 68 and demands strict proof
thereof

69. LCl\/l denies the allegations contained in Paragraph 69 and demands strict proof
thereof

70. LCM denies the allegations contained in Paragraph 70 and demands strict proof
thereof

COUNT II - NEGLIGENCE

71. LCM incorporates its responses to the preceding paragraphs as if fully set forth
below.

72. Paragraph 72 contains legal conclusions to which no response is required To the
extent a response is required, LCM denies the allegations and demands strict proof thereof

73. Paragraph 73 contains legal conclusions to which no response is required To the
extent a response is required, LCl\/l denies the allegations and demands strict proof thereof

74. Paragraph 74 contains legal conclusions to which no response is required To the
extent a response is required, LCM denies the allegations and demands strict proof thereof

75. Paragraph 75 contains legal conclusions to which no response is required To the
extent a response is required, LCl\/l denies the allegations and demands strict proof thereof

76. Paragraph 76 contains legal conclusions to which no response is required To the

extent a response is required, LCM denies the allegations and demands strict proof thereof

77. Paragraph 77 contains legal conclusions to which no response is required To the
extent a response is required, LCl\/l denies the allegations and demands strict proof thereof

78. LCM denies the allegations contained in Paragraph 78 and demands strict proof
thereof

79. LCM denies the allegations contained in Paragraph 79 and demands strict proof
thereof

80. LCM is unwilling to waive a trial by jury at this time. A jury trial is DEMANDED.

81. LCM denies the allegations contained in the WHEREFORE paragraph of the
Complaint and demands strict proof thereof

82. LCl\/I denies any allegations not specifically admitted herein.

83. Plaintiff has failed to state a cause of action.

84. LCM avers that Plaintiff’ s injuries and damages were the result of another or others
over whom it had no control and for whom it is not responsible at law.

85. LCM denies that it is indebted to Plaintiffin any manner or for any amount.

86. LCM denies that Plaintiff has been damages in the amount and to the extent alleged

87. LCM reseives the right to assert at trial any and all properly provable defenses it may
have to this action and further reserves the right to amend its Answer accordingly

PRAYER FOR RELIEF
WHEREFORE, Defendant LCM denies it is liable to Plaintiff and respectfully requests of this
Court as follows:
1. The Plaintiff have and recover nothing from this defendant and the claims against this

defendant be dismissed with prejudice

2. The cost of this action be taxed to the Plaintiff

3. The Couit grant to defendant such other and further relief as is just and proper.

By:

M. Scott Fell, Esquire

VSB No.: 30443

Erin E. Slusser, Esquire

VSB No.: 45867

Kalbaugh, Pfund & Messersmith, P.C.
2840 Electric Road, Suite 111
Roanoke, Virginia 24018
Phone: (540) 776-3583
Facsimile: (540) 776-1542
scott.fell@kpmlaw.com
erin.slusser@kpmlaw.com

Respectfully Submitted,

LCM CORPORATION

s/ Erin E. Slusser

Of Counsel

CERTIFICATE OF SERVICE

1 certify on this 21“ day of April, 2016, l electronically filed the foregoing with the Clerk

of Court using the CM/ECF syst3em, which sent notification of filing to the following:

Guy M. Harbert, lll, Esquire

Gentry, Locl<e, Rakes & Moore, LLP
Post Office Box 40013

Roanoke, Virginia 24022-0013

s/Erin E. Slusser
Erin E. Slusser

 

